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 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                      SEATTLE DIVISION
 9

10
     ALEXANDER BAYONNE STROSS,                              CASE NO. 2:21-cv-01489
11
                                 Plaintiff,                 COMPLAINT FOR
12
                 v.                                         COPYRIGHT
13                                                          INFRINGEMENT
     ZILLOW, INC. and TRULIA, LLC,                          (INJUNCTIVE RELIEF
14                                                          DEMANDED)
                                 Defendants.
15                                                          JURY DEMAND
16

17          Plaintiff ALEXANDER BAYONNE STROSS by and through his undersigned counsel,

18 brings this Complaint against Defendants ZILLOW, INC. and TRULIA, LLC for damages and
19 injunctive relief, and in support thereof states as follows:

20
                                       SUMMARY OF THE ACTION
21
            1.        Plaintiff ALEXANDER BAYONNE STROSS (“Stross”) brings this action for
22
     violations of exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and distribute
23
     Stross' original copyrighted Works of authorship.
24

25          2.        Stross is the owner and principal photographer of Stross Stock. After traveling

26 the world with his camera, creating thousands of high-quality photographs, the natural next step


     COMPLAINT                                                                                 SRIPLAW
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     was to offer the public means to license his work. Each photo on Stross Stock is shot with top-
 1

 2 quality equipment, thoughtfully produced, hand selected, and tastefully edited before being made

 3 available to the public.

 4          3.       Stross is a native of Austin, Texas, and watched the small city grow and develop
 5
     into an urban hot spot. This served as his inspiration to become a photographer, centering his
 6
     expertise on complicated architectural photography and landscape photography. In 2016, Stross
 7
     was nominated and accepted as a professional member of the American Society of Media
 8
     Photographers, which is a high honor. Stross received a B.S. in Computer Science at the
 9

10 University of Texas at Austin and has since combined his love for the photographic arts and

11 computer science by building an online system to help protect artists' works on the internet.

12          4.       Defendant ZILLOW, INC. (“Zillow”) is an American online real estate
13
     marketplace. Defendant Trulia, LLC (“Trulia”) is an online real estate marketplace and
14
     subsidiary of Zillow. Defendants Zillow and Trulia are collectively referred to herein as
15
     “Defendants.”
16

17          5.       Stross alleges that Defendants copied Stross' copyrighted Works from the internet

18 in order to advertise, market and promote their business activities. Defendants committed the
19 violations alleged in connection with Defendants’ businesses for purposes of advertising and

20 promoting sales to the public in the course and scope of the Defendants’ businesses.

21
                                     JURISDICTION AND VENUE
22
            6.       This is an action arising under the Copyright Act, 17 U.S.C. § 501.
23
            7.       This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.
24
     §§ 1331, 1338(a).
25

26          8.       Defendants are subject to personal jurisdiction in Washington.


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            9.      Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)
 1

 2 because the events giving rise to the claims occurred in this district, Defendants engaged in

 3 infringement in this district, Defendants reside in this district, and Defendants are subject to

 4 personal jurisdiction in this district.

 5
                                              DEFENDANTS
 6
            10.     Zillow, Inc. is a Washington corporation, with its principal place of business at
 7
     1301 Second Avenue, Floor 31, Seattle, Washington, 98101, and can be served by serving its
 8
     Registered Agent, United Agent Group Inc, West 505 Riverside Avenue, Suite 500, Spokane,
 9

10 Washington, 99201.

11          11.     Trulia, LLC is a Washington limited liability company with its principal place of

12 business at 1301 Second Avenue, Floor 31, Seattle, Washington, 98101, and can be served by

13 serving its Registered Agent, Agent, United Agent Group Inc, West 505 Riverside Avenue, Suite

14
     500, Spokane, Washington, 99201.
15
                               THE COPYRIGHTED WORKS AT ISSUE
16

17          12.     The table below is a list of Stross’ 106 infringed photographs (referred to herein
18
     as the “Works”), the registration certificate number, date of registration and the name of the
19
     photograph. One of the photographs is shown below. Copies of the Works are attached hereto as
20
     Exhibit 1. Copies of the Registration Certificates are attached hereto as Exhibit 2.
21

22     Registration           Work                                                          Registration
       Number                                                                                  Date
23
       VAu001129745           1st-10.jpg                                                    01.30.2013
24
       VAu001129745           4th-2.jpg                                                     01.30.2013
25

26     VAu001129745           4th-4.jpg                                                     01.30.2013


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 1    Registration      Work                                                     Registration
      Number                                                                        Date
 2
      VAu001129745      4th-5.jpg                                                 01.30.2013
 3
      VAu001129745      4th-6.jpg                                                 01.30.2013
 4

 5    VAu001129745      4th-7.jpg                                                 01.30.2013

 6    VAu001129745      4th-8.jpg                                                 01.30.2013

 7    VAu001129745      4th-9.jpg                                                 01.30.2013

 8    VAu001129745      4th-10.jpg                                                01.30.2013
 9    VA0001932509      912 Windsor Hill Dr- Deck - 22.jpg                        10.27.2014
10
      VA0001932509      912 Windsor Hill Dr - Storage - 14.jpg                    10.27.2014
11
      VA0001932509      912 Windsor Hill Dr- Backyard - 15.jpg                    10.27.2014
12
      VA0001932509      912 Windsor Hill Dr- Backyard - 16.jpg                    10.27.2014
13
      VA0001932509      912 Windsor Hill Dr- Backyard - 17.jpg                    10.27.2014
14
      VA0001932509      912 Windsor Hill Dr- Bathroom - 23.jpg                    10.27.2014
15

16    VA0001932509      912 Windsor Hill Dr- Bathroom - 6.jpg                     10.27.2014

17    VA0001932509      912 Windsor Hill Dr- Breakfast - 10.jpg                   10.27.2014

18    VA0001932509      912 Windsor Hill Dr- Dining - 3.jpg                       10.27.2014

19    VA0001932509      912 Windsor Hill Dr- Flex - 13.jpg                        10.27.2014
20    VA0001932509      912 Windsor Hill Dr- Foyer - 4.jpg                        10.27.2014
21    VA0001932509      912 Windsor Hill Dr- Front - 27.jpg                       10.27.2014
22
      VA0001932509      912 Windsor Hill Dr- Front - 28.jpg                       10.27.2014
23
      VA0001932509      912 Windsor Hill Dr- Front - 29.jpg                       10.27.2014
24
      VA0001932509      912 Windsor Hill Dr- Game - 20.jpg                        10.27.2014
25
      VA0001932509      912 Windsor Hill Dr- Guest - 19.jpg                       10.27.2014
26


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 1    Registration      Work                                                       Registration
      Number                                                                          Date
 2
      VA0001932509      912 Windsor Hill Dr- Guest - 21.jpg                         10.27.2014
 3
      VA0001932509      912 Windsor Hill Dr- Guest - 24.jpg                         10.27.2014
 4

 5    VA0001932509      912 Windsor Hill Dr- Guest - 7.jpg                          10.27.2014

 6    VA0001932509      912 Windsor Hill Dr- Kitchen - 11.jpg                       10.27.2014

 7    VA0001932509      912 Windsor Hill Dr- Kitchen - 9.jpg                        10.27.2014

 8    VA0001932509      912 Windsor Hill Dr- Living - 5.jpg                         10.27.2014
 9    VA0001932509      912 Windsor Hill Dr- Living - 8.jpg                         10.27.2014
10
      VA0001932509      912 Windsor Hill Dr- Master Bath - 25.jpg                   10.27.2014
11
      VA0001932509      912 Windsor Hill Dr- Master Bed - 26.jpg                    10.27.2014
12
      VA0001932509      912 Windsor Hill Dr- Shed - 12.jpg                          10.27.2014
13
      VA0001932509      912 Windsor Hill Dr- Stairs - 18.jpg                        10.27.2014
14
      VA0001932509      912 Windsor Hill Dr-Living Room-1.jpg                       10.27.2014
15

16    VA0001932509      912 Windsor Hill Dr-Living Room-2.jpg                       10.27.2014

17    vAu001101527      9313 Stone Mountain-1.jpg                                   04.27.2012

18    VAu001101527      9313 Stone Mountain-3.jpg                                   04.27.2012

19    VAu001101527      9313 Stone Mountain-4.jpg                                   04.27.2012
20    VAu001101527      9313 Stone Mountain-5.jpg                                   04.27.2012
21    VAu001101527      9313 Stone Mountain-6.jpg                                   04.27.2012
22
      VAu001101527      9313 Stone Mountain-7.jpg                                   04.27.2012
23
      VAu001101527      9313 Stone Mountain-8.jpg                                   04.27.2012
24
      VAu001101527      9313 Stone Mountain-12.jpg                                  04.27.2012
25
      VAu001101527      9313 Stone Mountain-16.jpg                                  04.27.2012
26


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 1    Registration      Work                                              Registration
      Number                                                                 Date
 2
      VAu001101527      9313 Stone Mountain-17.jpg                         04.27.2012
 3
      VAu001101527      9313 Stone Mountain-18.jpg                         04.27.2012
 4

 5    VAu001101527      9313 Stone Mountain-19.jpg                         04.27.2012

 6    VAu001101527      9313 Stone Mountain-20.jpg                         04.27.2012

 7    VAu001101527      9313 Stone Mountain-21.jpg                         04.27.2012

 8    VAu001101527      9313 Stone Mountain-23.jpg                         04.27.2012
 9    VAu001101527      9313 Stone Mountain-24.jpg                         04.27.2012
10
      VAu001101527      9313 Stone Mountain-25.jpg                         04.27.2012
11
      VAu001101527      9313 Stone Mountain-26.jpg                         04.27.2012
12
      VAu001101527      9313 Stone Mountain-27.jpg                         04.27.2012
13
      VAu001101527      9313 Stone Mountain-29.jpg                         04.27.2012
14
      VAu001101527      9313 Stone Mountain-32.jpg                         04.27.2012
15

16    VAu001101527      9313 Stone Mountain-34.jpg                         04.27.2012

17    VAu001101527      9313 Stone Mountain-35.jpg                         04.27.2012

18    VAu001101527      9313 Stone Mountain-36.jpg                         04.27.2012

19    VAu001088759      20110315-_MG_8533_4_6_7_8Adjust-Edit.jpg           11.20.2011
20    VAu001088759      20110315-_MG_8575_76_78_79_80Adjust-Edit.jpg       11.20.2011
21    VAu001088759      20110315-_MG_8588_89_91_92_93Adjust-Edit.jpg       11.20.2011
22
      VAu001088759      20110315-_MG_8618_19_21_22_23Adjust-Edit.jpg       11.20.2011
23
      VAu001088759      20110315-_MG_8642_3_5_6_7Adjust-Edit.jpg           11.20.2011
24
      VAu001088759      20110315-_MG_8648_49_51_52_53Adjust-Edit.jpg       11.20.2011
25
      VAu001088759      20110315-_MG_8654_5_7_8_9Adjust-Edit.jpg           11.20.2011
26


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 1    Registration      Work                                                 Registration
      Number                                                                    Date
 2
      VAu001088759      20110315-_MG_8660_1_3_4_5Adjust-Edit.jpg              11.20.2011
 3
      VAu001088759      20110315-_MG_8678_79_81_82_83Adjust-Edit.jpg          11.20.2011
 4

 5    VAu001088759      20110315-_MG_8690_1_3_4_5Adjust-Edit.jpg              11.20.2011

 6    VAu001088759      20110315-_MG_8735_36_38_39_40Adjust-Edit.jpg          11.20.2011

 7    VAu001088759      20110315-_MG_8747_48_50_51_52Adjust-Edit.jpg          11.20.2011

 8    VAu001088759      20110315-_MG_8759_60_62_63_64Adjust-Edit.jpg          11.20.2011
 9    VAu001088759      20110315-_MG_8771_2_4_5_6Adjust-Edit.jpg              11.20.2011
10
      VAu001088759      20110315-_MG_8783_4_6_7_8Adjust-Edit.jpg              11.20.2011
11
      VAu001088759      20110315-_MG_8789_90_92_93_94Adjust-Edit.jpg          11.20.2011
12
      VAu001088759      20110315-_MG_8825_26_28_29_30Adjust.jpg               11.20.2011
13
      VAu001088759      20110315-_MG_8831_2_4_5_6Adjust-Edit.jpg              11.20.2011
14
      VAu001088759      20110315-_MG_8837_38_40_41_42Adjust-Edit.jpg          11.20.2011
15

16    VAu001088759      20110315-_MG_8843_4_6_7_8Adjust.jpg                   11.20.2011

17    VAu001088759      20110315-_MG_8867_68_70_71_72Adjust-Edit.jpg          11.20.2011

18    VAu001088759      20110315-_MG_8927_28_29_31_32Adjust-Edit.jpg          11.20.2011

19    VAu001088759      20110315-_MG_8978_79_80_82_83Adjust-Edit.jpg          11.20.2011
20    VAu001088759      20110315-_MG_8984_5_6_8_9Adjust-Edit.jpg              11.20.2011
21    VAu001088759      20110315-_MG_8990_1_2_4_5Adjust-Edit.jpg              11.20.2011
22
      VAu001089810      20111022-_MG_0031-2_2-2_3-2_4-2_5-2_6-                02.20.2012
23                      2Adjust-Edit.jpg

24    VAu001089810      20111022-_MG_0073-2_4-2_5-2_6-2_7-2_8-                02.20.2012
                        2Adjust-Edit.jpg
25

26


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 1    Registration      Work                                                Registration
      Number                                                                   Date
 2
      VAu001089810      20111022-_MG_0079-2_80-2_81-2_82-2_83-2_84-          02.20.2012
 3                      2Adjust.jpg
 4
      VAu001089810      20111022-_MG_0097-2_098-2_099-2_100-2_101-           02.20.2012
 5                      2_102-2Adjust-Edit.jpg

 6    VAu001089810      20111022-_MG_0124_5_6_7_8_9Adjust-Edit.jpg           02.20.2012

 7    VAu001089810      20111022-_MG_0148_49_50_51_52_53Enhancer-            02.20.2012
                        2.jpg
 8
      VAu001089810      20111022-_MG_0160_1_2_3_4_5Adjust-Edit.jpg           02.20.2012
 9

10    VAu001089810      20111022-_MG_0183-Edit.jpg                           02.20.2012

11    VAu001089810      20111022-_MG_0187_88_89_90_91_92Adjust-              02.20.2012
                        Edit.jpg
12
      VAu001089810      20111022-_MG_0208_09_10_11_12_13Adjust-              02.20.2012
13                      Edit.jpg
14    VAu001089810      20111022-_MG_0238_39_40_41_42_43Adjust-              02.20.2012
15                      Edit-Edit.jpg

16    VAu001089810      20111022-_MG_0250_1_2_3_4_5Adjust-Edit.jpg           02.20.2012

17    VAu001089810      20111022-_MG_0268_69_70_71_72_73Adjust-              02.20.2012
                        Edit.jpg
18
      VAu001089810      20111022-_MG_0286_87_88_89_90_91Adjust-              02.20.2012
19
                        Edit.jpg
20
      VAu001089810      20111022-_MG_0316_17_18_19_20_21Adjust-              02.20.2012
21                      Edit.jpg

22    VAu001089810      20111113-                                            02.20.2012
                        _MG_0097_098_099_100_101_102Adjust-Edit.jpg
23
      VAu001089810      20111231-26AR0114_5_6_7_8Adjust-Edit.jpg             02.20.2012
24

25    VAu001089810      20111231-26AR0129_30_31_32_33Adjust-Edit.jpg         02.20.2012

26    VAu000989644      Set04Enhancer5from_26AR7634_pt.jpg                   12.15.2008


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16
             13.     Stross' Works are protected by copyright but are not otherwise confidential,
17
     proprietary, or trade secrets.
18
             14.     At all relevant times Stross was the owner of the copyrighted Works at issue in
19
     this case.
20

21                                INFRINGEMENT BY DEFENDANTS

22           15.     Defendants have never been licensed to use the Works at issue in this action for

23 any purpose.

24
             16.     On a date after the Works at issue in this action were created, but prior to the
25
     filing of this action, Defendants copied the Works.
26


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            17.     Defendants copied Stross' copyrighted Works without Stross' permission.
 1

 2          18.     After Defendants copied the Works, they made further copies and distributed the

 3 Works on the internet to promote the sale of goods and services as part of their online real estate

 4 marketplace business.

 5
            19.     Defendants copied and distributed Stross' copyrighted Works in connection with
 6
     Defendants’ business for purposes of advertising and promoting Defendants’ business, and in the
 7
     course and scope of advertising and selling products and services.
 8
            20.     Stross' Works are protected by copyright but are not otherwise confidential,
 9

10 proprietary, or trade secrets.

11          21.     Defendants committed copyright infringement of the Works as evidenced by the
12 documents attached hereto as Exhibit 3.

13
            22.     On April 15, 2021 Stross sent DMCA takedown notices to Trulia LLC and
14
     Zillow, Inc. A true and correct copy of those takedown notices are attached hereto as Exhibit 4.
15
            23.     Defendants replied with automated messages asking for more information, which
16

17 Stross provided.

18          24.     Defendants did not comply with the DMCA takedown notices.

19          25.     Stross never gave Defendants permission or authority to copy, distribute or
20 display the Works at issue in this case.

21
                                           COUNT I
22                                  COPYRIGHT INFRINGEMENT

23          26.     Plaintiff incorporates the allegations of paragraphs 1 through 25 of this Complaint
24 as if fully set forth herein.

25
            27.     Stross owns valid copyrights in the Works at issue in this case.
26


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             28.     Stross registered the Works at issue in this case with the Register of Copyrights
 1

 2 pursuant to 17 U.S.C. § 411(a).

 3           29.     Defendants copied, displayed, and distributed the Works at issue in this case and

 4 made derivatives of the Works without Stross' authorization in violation of 17 U.S.C. § 501.

 5
             30.     Defendants performed the acts alleged in the course and scope of their business
 6
     activities.
 7
             31.     Defendants’ acts were willful.
 8
             32.     Stross has been damaged.
 9

10           33.     The harm caused to Stross has been irreparable.

11                                   COUNT II
                   REMOVAL OF COPYRIGHT MANAGEMENT INFORMATION
12
             34.     Plaintiff incorporates the allegations of paragraphs 1 through 25 of this Complaint
13

14 as if fully set forth herein.

15           35.     The Works at issue in this case contain copyright management information
16 (“CMI”).

17
             36.     Defendants knowingly and with the intent to enable or facilitate copyright
18
     infringement, removed CMI from the Works at issue in this action in violation of 17 U.S.C. §
19
     1202(b).
20

21           37.     Defendants committed these acts knowing or having reasonable grounds to know

22 that they will induce, enable, facilitate or conceal infringement of Stross' rights in the Works at

23 issue in this action protected under the Copyright Act.

24           38.     Defendants caused, directed and authorized others commit these acts knowing or
25
     having reasonable grounds to know that they will induce, enable, facilitate or conceal
26


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     infringement of Stross' rights in the Works at issue in this action protected under the Copyright
 1

 2 Act.

 3             39.     Stross has been damaged.

 4             40.     The harm caused to Stross has been irreparable.
 5
                                            PRAYER FOR RELIEF
 6
               WHEREFORE, the Plaintiff prays for judgment against the Defendants Zillow, Inc. and
 7
     Trulia, LLC that:
 8
               a.      Defendants and their officers, agents, servants, employees, affiliated entities, and
 9

10 all of those in active concert with them, be preliminarily and permanently enjoined from

11 committing the acts alleged herein in violation of 17 U.S.C. §§ 501, 1203;

12             b.      Defendants be required to pay Plaintiff actual damages and Defendants’ profits
13
     attributable to the infringement, or, at Plaintiff's election, statutory damages, as provided in 17
14
     U.S.C. §§ 504, 1203;
15
               c.      Defendants be required to pay Plaintiff his damages including lost sales and
16

17 Defendants’ profits as provided in 15 U.S.C. § 1125;

18             d.      Plaintiff be awarded attorneys’ fees and costs of suit under the applicable statutes

19 sued upon;

20             e.      Plaintiff be awarded pre and post-judgment interest; and
21
               f.      Plaintiff be awarded such other and further relief as the Court deems just and
22
     proper.
23
                                                JURY DEMAND
24

25             Plaintiff hereby demands a trial by jury of all issues so triable.

26 DATED: November 3, 2021                            Respectfully submitted,


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 1

 2                                    /s/Joel B. Rothman
                                      JOEL B. ROTHMAN
 3                                    WSBA No. 57717
                                      joel.rothman@sriplaw.com
 4
                                      SRIPLAW
 5
                                      21301 Powerline Road
 6                                    Suite 100
                                      Boca Raton, FL 33433
 7                                    561.404.4350 – Telephone
                                      561.404.4353 – Facsimile
 8
                                      And
 9

10                                    /s/Jeremy Roller
                                      JEREMY ROLLER
11                                    WSBA No. 32021
                                      jroller@aretelaw.com
12
                                      ARETE LAW GROUP
13
                                      1218 Third Avenue, Suite 2100
14                                    Seattle, WA 98101
                                      206.428.3250 – Telephone
15
                                      Attorneys for Plaintiff Alexander Bayonne Stross
16

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